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                               IN THE UNITED STATES
                   DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



Watkins Law & Advocacy, PLLC

             Plaintiff

             vs.
                                                    Civil Action No. 1:17-CV-1974

U.S. Department of Veterans Affairs

             Defendant




                             DECLARATION OF TRACY KNIGHT

      I, Tracy Knight, pursuant to Title 28, United States Code, Section 1746,
declare as follows:

       1) I am employed as a Government Information Specialist for the
Department of Veterans Affairs (VA), Office of General Counsel (OGC), Information
Law Group (ILG), 810 Vermont Avenue, Washington DC 20420. My duties include
processing Final Agency Decisions for administrative appeals filed under the
Freedom of Information Act/Privacy Act (FOIA/PA). In executing my duties, I work
directly with FOIA and Privacy Officers throughout the Department. Specifically,
upon receipt of an administrative appeal, I contact the FOIA/Privacy Officer that
issued the initial agency decision; request the administrative file; and, follow up
as may be necessary to fully detail the efforts taken to search for responsive
documents and explain the application of any FOIA exemptions. The statements I
make herein are either on the basis of my own personal knowledge or on the basis
of knowledge acquired by me through the per.formance of my official duties.
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      . 2) In my official capacity, I am familiar with the procedures that were
followed by this Department in processing Seth Watkins' request for information.

                     PROCEDURAL HISTORY OF FOIA REQUEST

                           VA Office of General Counsel (OGC}

      3) Mr. Watkins submitted initial requests for information to the VA Office of
General Counsel (OGC) on October 14, 2015 (Exhibit 1) and November 11, 2015.
(Exhibit 2).

              SEARCH FOR RECORDS AFTER RECIEPT OF COMPLAINT

      4) Mr. Watkins' complaint was served on the VA on or about October 16,
2017, which alleged Defendant, VA, failed to respond to the following two FOIA
requests:

a) An October 14, 2015 request (also referred to as "first FOIA request") seeking:

   "'• all records (including all amendments, supplements, exhibits, and addenda
   thereto} which set out or reflect the V A's approved agency decision-making
   procedures concerning whether the name of a veteran is to be reported,
   identified, or otherwise referred for inclusion in the Mental Defective File of the
   National Instant Criminal Background Check System ("NICS"} database (also
   known as the N/CS Index Mental Defective Commitment File}, in effect at any
   time during 2013 to the present, including but not limited to any directive,
   guidance, policy, instruction, manual, procedure, guideline, standard, internal
  advice, message, checklist, flow chart, and/or memorandum with respect thereto
  (e.g., setting forth the procedure by which the VA may make a determination
  that an individual is "incompetent" with respect to handling his or her benefit
  payments such "that a fiduciary must be appointed, with the individual then
  facing prohibitions under the Brady Act}; and

  • all records, from 2010 to the present., indicating the total number of names of
  veterans reported, identified, or otherwise referred by the VA each year (or
  month or quarter} for inclusion in the Mental Defective File of the National

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    Instant Criminal Background Check System ('1NICS"} database (also known as the
    N/CS index Mental Defective Commitment File) (e.g., requester seeks summary
   records indicating the total number of veterans reported annually for inclusion in
    the Mental Defective File of NICS). "'; and,

b) A request dated November 11, 2015 (also referred to as the "second FOIA
   request"), seeking:


    "• the comments submitted by the U.S. Department of Veterans Affairs ("VA") in
   response to the notice of proposed rulemaking from the U.S. Department of the
   Treasury, Bureau of Alcohol, Tobacco and Firearms ("BATF"), published on
   September 6, 1996 at 61 FR 47095, Notice No. 839,. RIN 1512-AB41, in which
   BATF proposed definitions to facilitate the implementation of the national
   instant criminal background check system ("NICS") required under the Brady
   Handgun Violence Prevention Act. On information and belief, the VA 's comments
   were submitted between September 6, 1996 and December 5, 1996 (when the
   comment period closed).;/


       5) In· addition to District Counsel Offices located at various VA facilities across
the country and charged with providing general legal services, the VA Office of
General Counsel is comprised of eight (8) specialized Law Groups that provide
subject matter expertise on many issues. Those Law Groups include, but are not
limited to the Torts Law Group, which advises on matters under the Federal Tort
Claims Ac.t and VA Police issues; the Benefits Law Group, which advises on the
administration of. benefits by the Secretary under Title 38 of the United States
Code; and, the Information Law Group, which advises on matters related to the
collection, use, disclosure, and security of information including but not limited to
the Privacy Act of 1974 and the Health Insurance Portability and Accountability Act.

      6) On October 31, 2017, OGC-ILG Deputy Chief Counsel, Kenyatta Mcleod-
Poole, contacted OGC and the Veterans Benefits Administration (VBA), which
administers Title 38 monetary benefits initiate a search for responsive records.
VBA was asked to search because they were the agency component charged with
reporting Veterans whom they determined to be incompetent for purposes of
managing their monetary benefits to NCIS under the Brady Act. OGC was asked to
conduct a search because the Benefits, Torts and Information Law Groups were
known to have provided legal advice on matters related to the Brady Act.
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       7) On November 14, 2017, Declarant contacted the VA Office Public and
Intergovernmental Affairs (OPIA) to initiate a search for responsive records.
OPIA was asked to conduct a search because they were believed to have issued
public statements or responded to media inquiries related to VA1s implementation
of the Brady Act.·

      8) VBA and OPIA conducted searches as follows:

      a. OPIA used the search terms: Brady Act-January 1, 2000 to November 20,
         2017 and NICS -January 1, 2000 to November 20, 2017. The search was
         conducted by the Martha Davis (retired) Supervisor, Service Operations-
         End User, Service Operations. The system searched was Outlook 2010

      b. VBA reached out to the Pamela Zaroff, Management Analyst who handles
         NICS issues VBA searche·d between the dates of 2010 to 2017. Search
         terms used were "NICS MOU". The systems searched were Outlook,
         Compensation Services' network drive and the VA Compensation Intranet.
         VBA used the VA intranet to access the "Knowledge base" page, and then
         selected. the "Browse Topics" drop down tab for our M21-1; Procedures
         manual, to search the Manual reference, M21-1, Part Ill, Subpart v,
         Chapter 9, Section B-"Processing Awards to Incompetent Beneficiaries

       9) The Benefits Law Group, Torts Law Group and Information Law Group
initiated a search for responsive records within the following systems: Outlook
email boxes, paper files, the network "H" drive, OGC's i.nternal site identified as
"Share Point", and the OGC electronic system of records identified as "GCLAWS".
The. search was delegated by the Chief or Deputy Chief Counsel for each Law Group
to the subject matter experts most likely to have responsive records." The search
was done using key words ({Brady Act11 and "NICS" for records responsive to both
                                              1
requests because each request related to VA s implementation of the requirement
under the Brady Handgun Violence Prevention Act (Brady Act) to report certain
individuals to the National Instant Criminal Background Check System (NICS).

       10) Declarant reviewed all documents located during the search conducted
by the OGC Torts Law Group, OGC Benefits Law Group and OGC-ILG to determine if
they were responsive, and if so, if they were releasable. Declarant began search
and review on November 14, 2017. Using the two search terms "Brady Act" and
"NICS'1, Declarant located approximately 2,090 documents consisting of: 285 cases

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 in GCLAWS; 534 Outlook emails; 491 documents on the network "H" drive; 405
documents in Share Point; and approximately 375 pages in paper files. Dedarant
 reviewed all 2,090 electronic documents or paper pages to determine which were
responsive. Declarant spent approximately 95 hours on search and review of the
2,090 documents and pages. Declarant reviewed all available documents related to
the search irrespective of the date and processed all documents that were reviewed
to determine releasability. The search resulted in re.sponsive documents, but also
in many duplicates and false positives in which the letters "nics", for example, came
up as part of the document, but the document was not related to NICS or the Brady
Act. The search also resulted in many emails where the email chain was the same,
but a new comment had been added to the email chain. Of these emails, I selected
only the most recent so that the entire email chain was included in the responsive
document. Declarant located approximately 382 records within the possession of
the VA Office of General Counsel that were deemed responsive to the subject FOIA
request.

       11.   Of the 382 records, 1 was withheld in part, and 381 were withheld in
full under FOIA Exemption 5 because they fell into 1 of 2 categories:

       a. Attorney-Client Privilege/Deliberations - Emails, memos and White Papers
wherein attorneys within the Office of General Counsel are discussing amongst
themselves how to advise the clients within the Department or are communicating
their advice to those clients; or

      b. Deliberative process privilege - emails, memos and notes of discussions
between officials within VA and the Department of Justice related to VA's
implementation of the Brady Act which lead to or relate to the [date] Memorandum
of Understanding between the Veterans Benefits Administration (VBA) and the
Federal Bureau of Investigation (FBI}.

       12.    VA OGC and, separately, VBA and OPIA, provided releases to Plaintiff.
The releases included documents released in full and in part, and also included a list
of documents that were being withheld in full. VBA and OPIA mailed their releases
directly to Plaintiff as set forth below. VA OGC made its releases in a series of
interim releases as set forth below.

            a. OGC-ILG issued the first interim Final Agency Decision (FAD) to Mr.
               Watkins on November 21, 2017.


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       b. OGC-ILG issued the second interim FAD to Mr. Watkins oli
          December 5, 2017 ..

      c. On December 7, 2017, OGC-IL(J referred one document to the
         DOJ/FBI for di,rect response to Mr. Watkins.

      d. On December 21, 2017, VBA mailed their response directly to Mr.
         Watkins. VBA notified OGC-ILG of this response, per request of
         OGC-ILG, since this was a litigation issue.

      e. OGC-ILG issued the third interim FAD to Mr. Watkins on December
         27, 2017.

      f. OGC-ILG issued the fourth interim FAD to Mr. Watkins on December
           27, 2017.

      g. On January 17, 2018, OPIA mailed their response directly to Mr.
         Watkins.

      h. OGC-ILG issued the fifth interim FAD to Mr. Watkins on January 23,
         2018.

      i. OGC-ILG issued the sixth interim FAD to Mr. Watkins on January 23,
         2018.

      j.   OGC-ILG issued the seventh and final interim FAD to Mr. Watkins on
           February 13, 2018.

      k. During the course of review, we identified three documents that
         were referred to the FBI through the DOJ Office of Information
         Policy (OIP) under 38 C.F.R. 1.SSS(c).

      I. On March 15, 2018, OGC-ILG referred two "Fast Letter" documents
           to VBA for direct response to Mr. Watkins.

      m. On April 4, 2018, VBA provided a response to Mr. Watkins regarding
         those two "Fast Letter" documents.




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       13. After conferral among the parties, Plaintiff provided an email dated
October 24, 2018, identifying which records, withheld in full or in part, identified
in interim releases regarding the first FOIA request that Plaintiff was challenging.
Plaintiff's challenges with respect to the first FOIA request were limited only to
the records processed by OGC (i.e., not to records processed by VBA and OPIA).
Plaintiff's challenges included four items from OGC's first interim release; one item
from OGC's second interim release; approximately 30 items from OGC's third
interim release; seven items from OGC's fourth interim release; approximately 15
items from OGC's fifth interim release; nine items from OGC's sixth interim release;
and approximately 28 items from OGC's seventh interim release. Each of those
items is listed on the attached Vaughn Index.

       14. As a threshold matter, OGC notes that its search for responsive records
was more expansive, both in terms of date range and substance, than called for in
the request. For instance, the first request sought "all records (including all
amendments, supplements, exhibits, and addenda thereto) which set out or reflect
the VA's approved agency decision-making procedures concern_ing whether the
name of a veteran is to be reported, identified, or otherwise referred for inclusion
in the Mental Defective File of the National Instant Criminal Background Check
System ("NICS") database (also known as the NICS Index Mental Defective
Commitment File), in effect at any time during 2013 to the present." The
remainder of the first request sought "all records, from 2010 to the present,
indicating the total number of names of veterans reported, identified, or otherwise
referred by the VA each year (or month or quarter) for inclusion in the Mental
Defective File of the National Instant Criminal Background Check System ( 11 NICS 11 )
database (also known as the NICS Index Mental Defective Commitment File) (e.g.,
requester seeks summary records indicating the total number of veterans reported
annually for inclusion in the Mental Defective File of NICS)."

      15.    As the language. of the first request reflects, the first portion of the
request sought records from 2013 to the date of the request, and was limited
to records that "set out or reflect" the VA's ,rapproved agency decision-making
procedur·es." That part of the request did not seek internal emails regarding
the development of agency decision-making procedures. Nevertheless, the VA
inadvertently identified in its interim release letters as "responsive" to this
request documents the pre-dated 2013 as well as documents reflecting agency
deliberations concerning the implementation of aspects of the Brady Act that
preceded "approved agency decision-making procedures." Many of those
documents, which were withheld in full under Exemption 5, were among the

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    documents challenged by Plaintiff in Plaintiff's October 24, 2018 email. 1
    Accordingly, as a threshold matter, these documents, on further review, are not
    responsive to the FOIA request. However, to the extent the Court considers them
    responsive by virtue of them being identified by the VA in its interim release letters,
    they have be.en properly withheld in full under Exemption 5 because they fall into
    one of the two categories described in paragraph 11 above; that is, they are pre-
    decisional and deliberative and/or protected by the attorney-client privilege.

       16. Deliberative Process Privilege. This privilege "applies to inter- and
intra-agency documents that are both pre-decisional and deliberative." As
reflected on the accompanying Vaughn Index, the documents withheld in full
as deliberative reflect pre-decisional, deliberative communications among the
VA regarding implementation of aspects of the Brady Act. The release of such
information would have a chilling effect on VA's ability to conduct frank internal
discussions as part of a decision-making process, as well as contribute to public
confusion that might result from disclosure of reasons and rationales that were
not in fact ultimately the grounds for an agency's action.

       17. Attorney-Client Privilege~ The attorney-client communication privilege
protects confidential communications between attorney and client for the purposes
of obtaining legal advice. The documents withheld under this exemption contained
confidential communications exchanged among VA staff and legal counsel, and/or
reflect communications among non-legal personnel regarding legal advice that had
been received. The substance of these communications has been kept confidential. ·
The disclosure of such communications would deprive VA staff, and the agency in
general, of the benefit of confidential advice from VA attorneys.

       18. Additionally, a line by line review was conducted of each record to
determine whether any segregable portion could be released. Based on a review
of the documents, there was no meaningful, segregable information that could be
provided and only the names and telephone numbers of VA personnel would have
been released. We understand if plaintiff were seeking names and phone numbers
of individuals on the documents, that information is subject to withholding under
Exemption 6 of FOIA because the i.ndividuals have a privacy right in that information
and the information would not shed light on VA's operations. Accordingly, the
privacy interests dearly outweigh any public interest in the information.


1      Plaintiffs email did not include challenges to the "summary records" requested in the
second portion of the first FOIA request.
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       19. . With respect to the second FOIA request, Plaintiff's October 24, 2018
email stated that Plaintiffs only challenge to the VA's response to this request
concerned its search (Plaintiff's email indicated that Plaintiff does not challenge the
VA's search with respect to the first FOIA request). Specifically, Plaintiff stated that
it contests the scope of the search with respect to the second FOIA request "only to
the extent.any comments in addition to the December 23, 1996 letter from Brown
to Ficaretta were not disclosed 1' in response to this request.

       20.   Owing to the Plaintiff's challenge, regarding the existence of any
comments subsequent to the December 23, 1996 letter from Brown to Ficaretta
not being disclosed, VA reexamined the only sources for such aged material,
Outlook emaiis, paper files, Share Point, and network uH" drive to ensure that a
full sweep of repositories was made. No items qualifying as comments to the
December 23, 1996 letter from Brown to Ficaretta could be identified.

                                     CONCLUSION

      21)   VA has conducted multiple searches reasonably likely to locate records
responsive to Mr. Watkins' FOIA two Requests, and has provided all responsive,
non-exempt records.

       I declare under penalty of perjury that the foregoing is-true and correct
to the best of my knowledge, recollection, and belief.

                   Executed this 7 day of December, 2018.


                    ---r=       15    C)CnafJ
                   Government Information Specialist
                   Office of General Counsel, Information Law Group
                   Department of Veterans Affairs
                   Washington, DC




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Seth Watkins

From:               Knight, Tracy <tracy.knight@va.gov>
Sent:               Friday, November 13, 2015 7:31 AM
To:                 Harden, Willie R. (R&K Enterprise Inc.); Burch, Tom (John T.)
Cc:                 Seth Watkins; Knight, Tracy
Subject:            FW: FOIA Appeal re Request to VA's Office of General Counsel Related to NICS

Importance:         High



&--           Please see this new FOIA from Mr. Seth Watkins. I am including him as a CC. On Oct 14, he
emailed a FOIA Request to the OGC FOIA in box. He has not yet received an acknowledgement of his request.

Can you please advise him of status and case number as soon as possible?

Mr;'W~tkiHt - I am forwarding your request back to the OGC FOIA Office (026) for assistance.

Thank you,

                                                   Tracy C. Knight
                                          Government Information Specialist
                              Office of General Counsel {024T) - Information Law Group
                                         Department of Veteran Affairs (VACO)
                                     810 Vermont Avenue, Washington DC 20420
                                   Phone (202) 461-7743 =***= Fax (202) 273-6388



From: Seth Watkins [mailto:Watkins@adduci.com]
Sent: Friday, November 13, 2015 4:12 AM
To: OGC FOIA Appeals
Subject: [EXTERNAL] FOIA Appeal re Request to VA's Office of General Counsel Related to NICS

This will appeal the denial of information requested under FOIA.

Pending before the VA is a request dated and emailed to the VA on October 14, 2015. A
copy of the request is forwarded below ("FOIA Request"). Receipt of the FOIA Request has
not been acknowledged by the VA.

Pursuant to 5 U.S.C. § 552(a)(6)(A)(i), a response to the FOIA Request was due within 20
business days. Requester deems the VA's failure to provide a response determination within
the statutory time limits as a denial of the FOIA Request. Requester hereby appeals the
denial of the FOIA Request. See, e.g., 5 U.S.C. § 552(a)(6)(C).

Please respond to this appeal within 20 business days in accordance with 5 U.S.C. §
552(a)(6)(A)(ii).

Thank you.                                             EXHIBIT 1

                                                          1
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   Sincerely,
   Isl
   Seth A. Watkins


   Seth A. Watkins, Ph.D.
   ADDUCI, MASTRIANI & SCHAUMBERG LLP
   1133 Connecticut Avenue, NW
   Washington, DC 20036
   Tel. 202-407-8647
   Main FAX 202-466-2006
   Email watkins@adduci.com

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   disclosure. If you are not the intended recipient, any dissemination, distribution or copying is strictly
   prohibited. If you think that you have received this email message in error, please email the sender at
   "watkins@adduci.com." Thank you.


   From: Seth Watkins
   Sent: Wednesday, October 14, 2015 4:47 PM
   To: 'ogcfoiarequests@va.gov' <ogcfoiarequests@va.gov>
   Subject: FOIA Request


   This is a request under the Freedom of Information Act ("FOIA"), 5 U.S.C .. § 552.

   On behalf of our requester client, we hereby request copies of the following records from the
   U.S. Department of Veterans Affairs ("VA") under FOIA, preferably sent to the requester's
   undersigned attorney by email in electronic format (pdf):


o. all records (including all amendments, supplements, exhibits, and addenda thereto) which set
   out or reflect the VA's approved agency decision-making procedures concerning
   whether the name of a veteran is to be reported, identified, or otherwise referred for
   inclusion in the Mental Defective File of the National Instant Criminal Background
   Check System ("NICS") database (also known as the NICS Index Mental Defective
   Commitment File), in effect at any time during 2013 to the present, including but not limited
   to any directive, guidance, policy, instruction, manual, procedure, guideline, standard, internal
   advice, message, checklist, flow chart, and/or memorandum with respect thereto (e.g., setting
   forth the procedure by which the VA may make a determination that an individual is
   "incompetent" with respect to handling his or her benefit payments such that a fiduciary must
   be appointed, with the individual then facing prohibitions under the Brady Act); and



o. all records, from 2010 to the present, indicating the total number of names of veterans
   reported, identified, or otherwise referred by the VA each year (or month or quarter) for
   inclusion in the Mental Defective File of the National Instant Criminal Background
   Check System ("NICS") database (also known as the NICS Index Mental Defective
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Commitment File) (e.g., requester seeks summary records indicating the total number of
veterans reported annually for inclusion in the Mental Defective File of NICS).


We hereby consent to pay all costs incurred for search, duplication and review of materials up
to $250.00. If additional costs will be required, please contact me for my approval.

If any records are withheld from release, please identify the withheld records by producing
and providing to me an index pursuant to Vaughn v. Rosen, 484 F.2d 820, 826-28 (D.C. Cir.
1973).

If the VA's Office of General Counsel does not have custody or control over certain requested
and responsive records but knows or believes that another component of the VA subject to
FOIA does, please forward this FOIA Request to the appropriate person and inform us that
you have done so.

Please respond within 20 business days in accordance with 5 U.S.C. § 552(a)(6)(A).

If you have any questions about this request, please contact me immediately by the means
listed below.

Thank you for your assistance with this matter.

Sincerely,
/s/
Seth A. Watkins


Seth A. Watkins, Ph.D.
ADDUCI, MASTRIANI & SCHAUMBERG LLP
1133 Connecticut Avenue, NW
Washington, DC 20036
Tel. 202-407-8647
Mobile 703-622-0328
Main FAX 202-466-2006
Email watkins@adduci.com

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prohibited. If you think that you have received this email message in error, please email the sender at
"watkins@adduci.com." Thank you.




       This message has been scanned for malware by Websense. www.websense.com



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Seth Watkins

From:              Burch, Tom (John T.) <John.Burch@va.gov>
Sent:              Tuesday, December 15, 2015 8:41 AM
To:                OGC FOIA Appeals
Cc:                Seth Watkins; Harden, Willie R. (R&K Enterprise Inc.)
Subject:           RE: FOIA Appeal re Request to VA's Office of General Counsel Related to NOPR Comments



Re: New FOIA Request from Seth Watkins dated November 11, 2015

I just received his request with your message. This is first that I am aware that such a request was
made. We will begin processing.

Tom Burch
OGC FOIA Officer and
Deputy Director
Homeland Security & Operations Division
Office of General Counsel (1011026D)
Department of Veterans Affairs
810 Vermont Avenue, NW, Room 1172
Washington, D. C. 20420
202-461-7717 (office)
202-273-9299 (fax)


From: Knight, Tracy On Behalf Of OGC FOIA Appeals
Sent: Tuesday1 December 15, 2015 8:13 AM
To: Burch, Tom (John T.); Harden, Willie R. (R&K Enterprise Inc.)
Cc: Watkins@adduci.com
Subject: FW: FOIA Appeal re Request to VA's Office of General Counsel Related to NOPR Comments

Tom and Willie - Please see the below FOIA from                   He has not received an acknowledgement
to his FOIA of November 11. Please advise him of receipt of his request, a tracking number, so that he knows
his request was received and is being worked.

I am cc'ing him here as an FYI. Mr. Watkins, if you do not receive an acknowledgment from Mr. Burch within
a week, please advise me and we will officially open an appeal on this FOIA.

Thank you,
Tracy

                                                  Tracy C. Knight
                                         Government Information Spedalist
                             Office of General Counsel (024T)- Information Law Group
                                        Department of Veteran Affairs (VACO)
                                    810 Vermont Avenue, Washington DC 20420
                                  Phone (202) 461-7743 ~***~ Fax (202) 273-6388

                                                 EXHIBIT 2

                                                        1
             Case 1:17-cv-01974-ABJ Document 20-4 Filed 12/10/18 Page 14 of 32



From: Seth Watkins [mailto:Watkins@adduci.com]
Sent: Monday, December 14, 2015 11:22 AM
To: OGC FOIA Appeals
Subject: [EXTERNAL] FOIA Appeal re Request to VA's Office of General Counsel Related to NOPR Comments

This will appeal the denial of information requested under FOIA.

Pending before the VA is a request dated and emailed to the VA on November 11, 2015. A
copy of the request is forwarded below ("FOIA Request") .. Receipt of the FOIA Request has
not been acknowledged by the VA.

Pursuant to 5 U.S.C. § 552(a)(6)(A)(i), a response to the FOIA Request was due within 20
business days. Requester deems the VA's failure to provide a response determination within
the statutory time limits as a denial of the FOIA Request. Requester hereby appeals the
denial of the FOIA Request. See, e.g., 5 U.S.C. § 552(a)(6)(C).

Please respond to this appeal within 20 business days in accordance with 5 U.S.C. §
552(a)(6)(A)(ii).

Thank you.

Sincerely,
/s/
Seth A. Watkins

Seth A. Watkins, Ph.D.
ADDUCI, MASTRIANI & SCHAUMBERG LLP
1133 Connecticut Avenue, NW
Washington, DC 20036
Tel. 202-407-8647
Main FAX 202-466-2006
Email watkins@adduci.com

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disclosure. If you are not the intended recipient, any dissemination, distribution or copying is strictly
prohibited. If you think that you have received this email message in error, please email the sender at
"watkins@adduci.com." Thank you.




From: Seth Watkins
Sent: Wednesday, November 11, 2015 2:40 PM
To: 'ogcfoiarequests@va.gov' <ogcfoiareguests@va.gov>
Subject: FOIA Request



This is a request under the Freedom of Information Act ("FOIA"), 5 U.S.C. § 552.




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   On behalf of our requester client, we hereby request a copy of the following record under
   FOIA, preferably sent to the requester's undersigned attorney by email in electronic format
   (pdf):


o. the comments submitted by the U.S. Department of Veterans Affairs ("VA") in response to the
   notice of proposed rulemaking from the U.S. Department of the Treasury, Bureau of Alcohol,
   Tobacco and Firearms ("BATF"), published on September 6, 1996 at 61 FR 47095, Notice
   No. 839, RIN 1512-AB41, in which BATF proposed definitions to facilitate the implementation
   of the national instant criminal background check system ("NICS") required under the Brady
   Handgun Violence Prevention Act. On information and belief, the VA's comments were
   submitted between September 6, 1996 and December 5, 1996 (when the comment period
   closed).


   We hereby consent to pay all costs incurred for search, duplication and review of materials up
   to $250.00. If additional costs will be required, please contact me for my approval.

   If any records are withheld from release, please identify the withheld records by producing
   and providing to me an index pursuant to Vaughn v. Rosen, 484 F.2d 820, 826-28 (D.C. Cir.
   1973).

   If the VA's Office of General Counsel does not have custody or control over certain requested
   and responsive records but knows or believes that another component of the VA subject to
   FOIA does, please forward this FOIA Request to the appropriate person and inform us that
   you have done so.

   Please respond within 20 business days in accordance with 5 U.S.C. § 552(a)(6)(A).

   If you have any questions about this request, please contact me immediately by the means
   listed below.

   Thank you for your assistance with this matter.

   Sincerely,
   Isl
   Seth A. Watkins

   Seth A. Watkins, Ph.D.
   ADDUCI, MASTRIANI & SCHAUMBERG LLP
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   Washington, DC 20036
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Item#   Decision   Document Description                                                  Withheld in        FOIA      Justification for
        Item#                                                                            full/part          Exempti   Withholding
                                                                                                            on
                                                     Documents listed on Interim Decision 1
1       2          Field Guidance "Brady Law" and VA - [Description: Undated and         Withheld in full   b5        Deliberative/Attorney
                   unsigned 2 page document] from OPA/Media Relations -                                               Client Privilege
                   discussion reqardinq implementation of Brady Act/NICS
2       3          FW: Possession of Firearm and Reporting of Psychiatric Patients       Withheld in full   b5, b6    Deliberative/Attorney
                   - [Description: Email of April 29, 2014 from Tammy Kennedy,                                        Client Privilege
                   Principal Deputy General Counsel to OGC components} - OGC
                   legal discussion with client regarding implementation of Brady
                   AcVNICS



3       10         VHA Reporting to NICS - [Description: Memo dated December             Withheld in full   b5, b6    Deliberative/Attorney
                   12, 2016, from Richard Hipolit, Deputy General Counsel for Legal                                   client privilege
                   Policy (021) to the National Mental Health Director, Inpatient and
                   Outpatient Policy ( 1 OP-4M) regarding Veterans Health
                   Administration (VHA) Reporting to National Instant Criminal
                   Background Check System (NICS)] - legal discussion on
                   existence of law/policy/regulation requiring VHA to report veterans
                   admitted on involuntary commitment status to the NICS
4       13         National Instant Criminal Background Check System -                   Withheld in full   b5, b6    Deliberative/Attorney
                   [Description: December 21, 1994, White Paper issued by the                                         Client Privilege
                   Office of General Counsel); legal discussion regarding
                   implementation of Brady AcVNICS
                                                     Documents listed on Interim Decision 2

5       1          Routine Uses, Incompetent Vets & NICS [Description: Document          Withheld in full   b5, b6    Deliberative/Attorn
                   dated March 30, 2005 from the VA's Deputy Assistant General                                        ey Client Privilege
                   Counsel to the General Counsel] - legal discussion reqarding

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          routine use and disclosing information on incompetent vets to DOJ
          for inclusion into NICS
                                            Documents listed on Interim Decision 3
6    1    024 Brady Act Briefing Paper 012008 - January 2008 memo               Withheld in full   b5, b6   Deliberative/Attorn
          regarding legal issues for Secretarial Briefing on the Brady Act                                  ey client privilege
          and nine categories of individuals ineligible to receive or possess
          firearms
7    3    032609 meeting-agenda - March 26, 2009, agenda regarding              Withheld in full   b5, b6   Deliberative/Attorn
          Complying with the FBI Information Request under the Brady Act.                                   ev Client Privileqe
8    4    Agenda for March 26 - Agenda for March 26, 2009 VA Pre-meet           Withheld in full   b5, b6   Deliberative/Attorn
          for FBI 033109 Meeting - legal discussion with OGCNBA/VHA                                         ey Client Privilege
          regarding implementation of Brady Act/NICS and VA providing
          information on Veterans
9    5    Analysis of Enrolled Bill HR 2640 12202007 - December 20,             Withheld in full   b5, b6   Deliberative/Attorn
          2007: To improve the National Instant Criminal Background                                         ey client privilege
          Check System (NICS)
10   7    Brady Act- TSA. White Paper- Disclosure by VA of Information          Withheld in full   b5, b6   Deliberative/Atta rn
          about Veterans Categorized as "Mentally Defective" - OGC legal                                    ey Client Privilege
          discussion with client regarding implementation of Brady Act/NICS
11   8    Brady Act White Paper on 2007 Amendments. White Paper -               Withheld in full   b5, b6   Deliberative/Attorn
          Brady Act Amendments- HR 2640 NICS Improvement                                                    ey Client Privilege
          Amendments Act (Brady Act Amendments) of 2007 - Discussion
          of amendments to the Brady Act
12   11   Burr's Q 112122007 -Undated/unsigned documents with                   Withheld in full   b5       Deliberative/Attorn
          Questions/Answers regarding VA beneficiaries and the NICS -                                       ey Client Privilege
          Questions are from Senator Burr
13   12   Consolidated Notes6 from March 31 Meeting. Notes from March           Withheld in full   b5, b6   Deliberative/Attorn
          31, 2009 briefing on the Brady Act with DOJ and VA (including                                     ey client privilege
          OGC, VBA and VHA)
14   14   Enrollment enactment report on HR 2640 12212007. Draft letter         Withheld in full   b5, b6   Deliberative/Attorn
          from OGC to Director, Office of Management and Budget                                             ey client privilege
          reqardinq VA and NICS Improvement Amendments Act of 2007."

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15   15   Enrollment enactment report on HR 4864. Draft letter to Director,      Withheld in full   b5, b6   Deliberative/Attarn
          Office of Management and Budget regarding view of VA on                                            ey client privilege
          "Veterans Claims Assistance Act of 2000"
16   19   FW Senate Committee question - Fiduciary vs NICS. Email from           Withheld in full   b5, b6   Deliberative/Attarn
          Department of Army to OGG Assistant Deputy General Counsel,                                        ey Client Privilege
          Lorrie Johnson, - OGG Legal discussion with client in email dated
          April 17, 2006 regarding statistical data on Fiduciaries listed on
          the NICS
17   20   HAG Question 8 04032012 - Question/Answer regarding research           Withheld in full   b5, b6   Deliberative/Atta rn
          VA does on gun control-                                                                            ev Client PrivileQe
18   21   HR 2640 Comments 07122007, legal discussion about VA and               Withheld in full   b5, b6   Deliberative/Attarn
          how implementation of HR 2640 would affect VA                                                      ev Client Privilege
19   22   In a Nutshell 032409 - Legal discussion of the issue of adoption       Withheld in full   b5, b6   Deliberative/Attarn
          of a strategy that will preclude a formal request to VA to disclose                                ey client privilege
          from its databases names of individuals that are arguably unlawful
          drug users and fall within Section 922(g)(3) of Title 18, US Code] -
20   23   In a Nutshell 032509 - Legal discussion of the issue of adoption       Withheld in full   b5, b6   Deliberative/Attarn
          of a strategy to prevent a formal request from the FBI for VA to                                   ey client privilege
          disclose information about individuals who are arguably unlawful
          druq users under 18 U.S.C. !:?922(q)(3)]
21   24   Legal Implications of the Brady Act as Amended 022008 -                Withheld in full   b5, b6   Deliberative/Atta rn
          February 2008 undated/unsigned document regarding Legal                                            ey client privilege
          Implications for VA with Brady Act amendments on "mental
          defective"
22   25   March 31, 2009 Handout - Participation of the VA in the NICS, a        Withheld in full   b5, b6   Deliberative/Attarn
          Legal Retrospective -March 31, 2009 as it concerns Veteran                                         ey client privilege
          information provided to DOJ by VA.
23   26   Mueller Response 031809- Undated/Unsigned Letter from VA               Withheld in full   b5, b6   Deliberative/Attarn
          Secretary, Eric Shinseki, to FBI Director regarding VA compliance                                  ey client privilege
          bv VA with NICS Improvement Act of 2007
24   27   NICS PM (12 21 12) (1): MEMORANDUM FOR THE HEADS OF                    Withheld in full   b5, b6   Deliberative/Attarn
          EXECUTIVE DEPARTMENTS AND AGENCIES - Improving                                                     ey Client Privilege
          Availability of Executive Branch Records to the National Instant
          Criminal Background Check System
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25   28   NICS-VBA - Undated/Unsigned memo from OGC to Under                   Withheld in full   b5, b6   Deliberative/Attorn
          Secretary for Benefits regarding creation of the NICS - OGC legal                                ey client privilege
          discussion with client reaardinq implementation of Brady Act/NICS
26   29   NICS-VHA - Undated/Unsigned memo from OGC to Under                   Withheld in full   b5, b6   Deliberative/Atta rn
          Secretary for Health regarding the creation of the NICS - OGC                                    ey client privilege
          legal discussion with client regarding implementation of Brady
          Act/NICS
27   30   Notes 01172008 reference book - Reference Book Notes As of           Withheld in full   b5, b6   Deliberative/Attorn
          (1/17/2008) - Undated/Unsigned Cover memo for collection of                                      ey client privilege
          materials prepared for OGC to attend a Senate Veterans
          Affairs Committee Meeting on October 11, 2005, to
          response to inquiries from a named Army Veteran, regarding
          the Brady Act.
28   44   Revised In a Nutshell 032609 - OGC Legal discussion with client      Withheld in full   b5, b6   Deliberative/Attorn
          on the issue of adoption of a strategy to prevent a formal request                               ey Client Privilege
          from the FBI for VA to disclose information about individuals who
          are arauably unlawful drug users under 18 U.S.C. &922(q)(3)
29   45   Revised2 In a Nutshell 032609 - OGC Legal discussion with            Withheld in full   b5, b6   Deliberative/Attorn
          client on the issue of adoption of a strategy to prevent a formal                                ey Client Privilege
          request from the FBI for VA to disclose information about
          individuals who are arguably unlawful drug users under 18 U.S.C.
          §922(g)(3)
30   46   Table of Contents by Tab Number- October 11, 2005 Brady Act          Withheld in full   b5, b6   Deliberative/Attorn
          SVAC Meeting Briefing Book Table of Contents by Tab Number-                                      ey client privilege
          listinq of documents used durinq the SVAC meeting
31   47   Talking Points for March 31 FBI Meeting - Background and             Withheld in full   b5, b6   Deliberative/Attorn
          Talking Points for the March 31, 2009, VNFBI Meeting -                                           ey client privilege
          suqqested leqal discussion topics with client reqardinq NICS
32   48   Unissued NICS WPSendek tracked - Draft document regarding            Withheld in full   b5, b6   Deliberative/Attorn
          IMPLEMENTING THE NICS IMPROVEMENT AMENDMENTS                                                     ey Client Privilege
          ACT OF 2007 IN THE VETERANS BENEFITS
          ADMINISTRATION -


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33   50   VHA FBI - NICS Position Paper 032509 - Position paper                 Withheld in full   b5, b6   Deliberative/Attorn
          summarizing VHA's concerns with the reporting requirements of                                     ey client privilege
          the Brady Handgun Violence Protection Act as it concerns
          persons who are "unlawful users of, or those addicted to any
          controlled substance."
34   51   White Paper 06192007 -Reporting Requirement for Mentally Ill          Withheld in full   b5, b6   Deliberative/Attorn
          Veterans - Response to Veterans Health Administration Inquiry,                                    ey client privilege
          June 19, 2007 - legal discussion from OGC Staff Attorney
          regarding whether names of Veterans diagnosed with mental
          health condition are transferred to NICS; current process for this;
          how many names transferred at any given time and what
          detainment, commitment, adjudication methods are used by VA in
          dealing with mentally ill Veterans who have a violent tendency.
35   54   FINAL NICS FL09-009

          This was referred to VBA for consideration - not OGC document
          - as stated on Decision #3
                                            Documents listed on Interim Decision 4

36   2    5-24 63000, FW nu Sen. Grassley Briefing Fiduciary Program and        Withheld in full   b5, b6   Deliberative/Attorn
          NICS, OGC email dated May 24, 2016 legal discussion with OGC                                      ey Client Privilege
          and VBA with regards to participation in briefing with Senator
          Grasslev on NICS Oversiqht
37   86    Briefing memo - Rep Aderholt (3) draft dated July 11, 2017 to        Withheld in full   b5,b6    Deliberative/Attome
           Dr. David Shulkin, from OCLA Acting Deputy Assistant                                             y Client Privilege
           Secretary, Ron Maurer - to set up telephone call with
           Congressman to discuss 2nd Amendment concern on VA
           compliance with Brady Act from specific-named Veteran
38   29   FW: sc1037, sc1025 SVAC RFI fiduciary process flow chart VAIQ         Withheld in full   b5, b6   Deliberative/Attorn
          7790942 SUSPENSE: NOON TOMORROW, FRIDAY 4/21/17-                                                  ey Client Privilege
          email dated April 20, 2017- OGC legal discussion with OCLA and
          VBA of how HR 118 would affect the Veteran records that have
          already been sent to the NICS

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39   33   FW: ACTION OGC/OLC FINAL APPROVAL VAIQ 7684033 /                       Withheld in full   b5, b6   Deliberative/Attorn
          Grassley+1 / COMPLEX (2nd Amendment Concerns) -email                                               ey client privilege
          dated April 28, 2016 - email from Office of Executive Secretary to
          OGC and VBA - legal discussion regarding Senator Grassley's
          inquiries on reporting to NICS, financial incompetence, fiduciaries,
          and Veteran appealing once they find out their name has been
          reported to NICS
40   88   NICS appellate review - [Description - Types of Review Available       Withheld in full   b5, b6   Deliberative/Attorn
          for VA Beneficiaries Affected by Brady Act Reporting                                               ey client privilege
          Requirements - legal document prepared by OGC
41   89   NICS reporting amendment second take VBA [Description: VA              Withheld in full   b5, b6   Deliberative/Atta rn
          Patient's Rights draft] VBA edits on VA Patients Rights regarding                                  ey Client Privilege
          adjudicative determinations for mental capacity of the beneficiary
          to manaqe their monetary benefits
42   84   Updated Memo for CM Aderholt call tomorrow - 11 July - email           Withheld in full   b5, b6   Deliberative/Attorn
          dated July 10, 2017 from OCLA to OGC - legal discussion with                                       ey Client Privilege
          client of VA reporting incompetency findings to NICS as required
          by law
                                             Documents listed on Interim Decision 5
43   1    3230 NICS Reporting - [Description: Reference Slip re: VHA             Withheld in full   b5, b6   Deliberative/Attorn
          Reporting to National Instant Criminal Background Check System                                     ey client privilege
          (NICS)] - legal discussion with client on legality and
          appropriateness on VHA sharing to A TF certain mental health
          information of Veterans
44   2    2271_Police-NICS Reporting by VHA, [email dated June 20, 2016          Withheld in full   b5, b6   Deliberative/Attorn
          from VHA to OGC - legal discussion with client regarding whether                                   ey Client Privilege
          VA has a duty arising out of Federal law, regulation, policy to
          report veterans admitted on involuntary commitment status to the
          Federal NCIS system for qun backQround checks
45   11   FW Important Involuntary Commitments at VA and National                Withheld in full   b5, b6   Deliberative/Attorn
          Instant Criminal Background (NICS) System - [email dated                                           ev Client PrivileQe


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          January 17, 2017 between OGC and VHA] - legal discussion with
          client settinq up meetinq with VHA concerning NICS reporting.
46   13   FW Meeting to Discuss HIPAA Modification - Firearm                   Withheld in full   b5, b6   Deliberative/Attorn
          Background Check System - email dated January 6, 2016 from                                       ey Client Privilege
          OGC Chief Counsel, Melinda Perritano, to OGC components -
          OGC legal discussion on HIPAA modification to strengthen
          background check and how it relates to A regulations such as 38
          CFR 5701
47   14   FW Meeting to Discuss HIPAA Modification - Firearm                   Withheld in full   b5, b6   Deliberative/Attorn
          Background Check System - email dated January 11, 2016 from                                      ey Client Privilege
          OGC Chief Counsel, Melinda Perritano, to OGC components -
          OGC legal discussion on HIPAA modification to strengthen
          background check and how it relates to A regulations such as 38
          CFR 5701
48   34   GC re NICS Reporting by VHA 12.12.2016 - [Description:               Withheld in full   b5, b6   Deliberative/Attorn
          December 12, 2016 Memo regarding VHA Reporting to NICS                                           ey client privilege
          from Richard Hipolit, Deputy General Counsel for Legal Policy to
          National Mental Health Director] if there is a federal law,
          regulation or policy the requires VHA to report Veterans admitted
          on court-ordered involuntary commitments to NICS, a database
          for background checks as a prerequisite to the purchase of
          firearms
49   35   HIPAA Modification - Firearm Background Check System -               Withheld in Full   b5, b6   Deliberative/Attorn
          Email dated January 6, 2016 from OGC Chief Counsel,                                              ey client privilege
          Melinda Perritano, to OGC components - OGC legal discussion
          on HIPAA modification to strengthen background check and how
          it relates to A requlations such as 38 CFR 5701
50   38   Litigation involving VA reports to NICS - email dated February 23,   Withheld in full   b5, b6   Deliberative/Attorn
          2017 from OGC Chief Counsel, Doug Bradshaw, to other OGC                                         ey Client Privilege
          components - legal discussion about specific named Veteran and
          the alleqation that VBA reported him to NICS
51   39   Meeting to Discuss HIPAA Modification - Firearm Background           Withheld in full   b5, b6   Deliberative/Attorn
          Check System - email dated January 6, 2016 - email from OGC                                      ey Client Privilege
          Chief Counsel, Melinda Perritano to other OGC components -
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           legal discussion to examine if HIPAA modification to strengthen
           the firearm background check system and how it relates to VA
           reaulations such as 38 CRF 5701
52   59    RE 38 USC 3679© compliance - Idaho - [email dated September       Withheld in full
           24, 2015]                                                                                     ***Upon further
                                                                                                         review, this email is
                                                                                                         non responsive as
                                                                                                         it has nothing to do
                                                                                                         with the Brady Act
                                                                                                         or NICS.*** Should
                                                                                                         be considered
                                                                                                         NON
                                                                                                         RESPONSIVE
53   64    RE Meeting to Discuss HIPAA Modification - Firearm Background     Withheld in full   b5, b6   Deliberative/Attorn
           Check System (76) - [email dated January 6, 2016] - request for                               ey Client Privilege
           legal discussion with client on implications of health care
           diagnosis on access to firearms when there are changes to state
           or federal law.
54   112   Signed GC WF 7761369 - NICS Reporting - [email dated              Withheld in full   b5, b6   Deliberative/Attorn
           January 17, 2017] - OGC email that provides copy of memo                                      ey client privilege
           within Memo dated December 12, 2016, from Deputy General
           Counsel for Legal Policy (021) to the National Mental Health
           Director, Inpatient and Outpatient Policy (1 OP-4M) regarding
           Veterans Health Administration (VHA) Reporting to National
           Instant Criminal Background Check System (NICS)] - the memo
           in question is already listed in this VauQhn Index
55   117   White Paper 2006-PSG 024 - [Description: September 7, 2009,       Withheld in full   b5, b6   Deliberative/Attorn
           White Paper issued by the Office of General Counsel) - legal                                  ey Client Privilege
           discussion on how specific Veteran can be their name removed
           from the NICS in order to allow the purchase of firearms




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56   118
           VBA Procedure Removal from Databank

           This was referred to VBA for consideration - not OGC document
           - as stated on Decision #5

57   121   Guidance to Agencies Regarding Submission of Relevant
           Federal Records to the NICS

           This was referred to FBI for consideration - not OGC document -
           as stated on Decision #5

                                            Documents listed on Interim Decision 6
58   1     Case #86454 - "HIPAA Privacy Rule Modified for Gun                  Withheld in full   b5, b6   Deliberative/Attorn
           Background Che" - Legal discussion regarding NICS and HIPPA-                                    ey Client Privilege
           OGC legal discussion with client on review of 45 CRF Part 164
           that modifies the HIPAA Privacy Rule to expressly permit certain
           HIPAA covered entities to disclose to NICS the identities of
           persons who are subject to a Federal "mental health prohibitor"
           that would prevent such individuals from possessinQ a firearm
59   7     Case #80999- "MOU BTWN OVA, FBI (NICS)" - Legal memo                Withheld in full   b5, b6   Deliberative/Attorn
           dated December 20, 2001, regarding revised version of MOU with                                  ey Client Privilege
           FBI reQardinQ NICS
60   10    Case #80179 - "INTERAGENCY COLLABORATION: SSA-                      Withheld in full   b5, b6   Deliberative/Attorn
           NICS" - Legal discussion with client on how VA provides notice to                               ey Client Privilege
           Veterans who are reported to NICS
61   11    Case #80999 - "MOU BTWN OVA, FBI (NICS) - Legal discussion          Withheld in full   b5, b6   DUPLICATE
           regarding NICS                                                                                  (**Upon further
                                                                                                           review, this is a
                                                                                                           duplicate of
                                                                                                           another case


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                                                                                                           number already on
                                                                                                           this list)
62   18   Case #72224 - "PRIVACY: VA REPORTING ON VETERANS TO Withheld in full                    bS, b6   Deliberative/Attorn
          FBI NICS"- Legal discussion with client on which branch of VA                                    ey Client Privilege
          has authority to report Veterans to the NICS
63   19   Case #78952 - "PRIVACY: SSA NICS ISSUE"- Legal discussion Withheld in full              bS, b6   Deliberative/Attorn
          with client to address question from SSA regarding the "minimum                                  ey Client Privilege
          criteria" that must be satisfied to establish a mental health relief
          from firearm disabilities proqram under the NIM
64   21   Case #40419- "DOJ Guidance- NICS"- Legal discussion                  Withheld in full   bS, b6   Deliberative/Attorn
          regarding NICS with client asking if Veterans who are involuntarily                              ey Client Privilege
          committed to a VA facility would be automatically deemed
          "mentally infirm" and thereby added to the FBl's National Instant
          Criminal Background Check System list?

65   23   Case #85351 - "JUSTICE LETTER ON HR 2640 NICS                       Withheld in full             This should
                                                                                                           actually be
                                                                                                           considered NON
                                                                                                           RESPONSIVE -
                                                                                                           Upon further
                                                                                                           review the only
                                                                                                           information in the
                                                                                                           notes is the
                                                                                                           tracking location for
                                                                                                           the physical file at
                                                                                                           that time. "NICS"
                                                                                                           only appears as
                                                                                                           the title subject for
                                                                                                           the electronic
                                                                                                           record (GCLaws
                                                                                                           entrv).


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66   24   Case #81867 - "Grassley NICS - Firearms"- Legal discussion         Withheld in full   b5, b6   Attorney client
          regarding NICS with OGC and VBA leading to VA's response to                                    privilege
          Oversiqht inquiry on NICS
                      Documents listed on Interim Decision 7 - ELECTRONIC MAIL SEARCH

67   10   HIPAA Modification - Firearm Background Check System - email       Withheld in full   b5, b6   Deliberative/Attorney
          dated January 6, 2016, from OGC Chief Counsel, Melinda                                         Client Privilege
          Perritano to OGC SupeNisors - legal discussion to examine the
          HIPAA modification to strengthen the firearm background check
          system and how it relates to VA regulations such as 38 CFR 5701
          and whether all Veterans with a VA fiduciary are prohibited from
          possessing a firearm and whether VBA is now required to provide
          their names to NCIS.
68   12   Meeting to Discuss? HIPM Modification - Firearm Background         Withheld in full   b5, b6   Deliberative/Attorney
          Check System [email dated January 6, 2016, from OGC Chief                                      Client Privilege
          Counsel, Melinda Perritano to OGC components - legal
          discussion to examine the HIPM modification to strengthen the
          firearm background check system and how it relates to VA
          regulations such as 38 CFR 5701 and whether all Veterans with a
          VA fiduciary are prohibited from possessing a firearm and
          whether VBA is now required to provide their names to NCIS.
69   13   RE: [EXTERNAL] Obama administration modifies HIPAA to              Withheld in full   b5, b6   Deliberative/Attorney
          strengthen the firearm background check system (1)- email dated                                Client Privilege
          January 6, 2016 from OGC Chief Counsel, Melinda Perritano to
          OGC components - Legal discussion about the January 5, 2016,
          modification to HIPAA to strengthen the firearm background
          check system
70   14   RE: [EXTERNAL] Obama administration modifies HIPM to               Withheld in full   b5, b6   Deliberative/Attorney
          strengthen the firearm background check system - email dated                                   Client Privilege
          January 6, 2016 - from OGC Chief Counsel, Melinda Perritano to
          OGC components - Legal discussion about the January 5, 2016,
          modification to HIPAA to strengthen the firearm background
          check system

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71   20   RE: Meeting to Discuss? HIPAA Modification - Firearm                 Withheld in full   b5, b6   Deliberative/Attorney
          Background Check System - email dated January 6, 2016 - from                                     Client Privilege
          OGC Chief Counsel, Melinda Perritano to OGC components -
          Legal discussion about the January 5, 2016, modification to
          HIPAA to strenQthen the firearm backQround check system
               Documents listed on Interim Decision 7 - PAPER FILE SEARCH

72   1    The Brady Act Legal Issues, January 25, 2008 - OGC Legal             Withheld in full   b5, b6   Deliberative/Attorney
          Discussion on the issue of persons who have been adjudicated as                                  Client Privilege
          a mental defective of who has been committed to a mental
          institution
73   2    Coburn Briefing: Article on the issues-you may find helpful [email   Withheld in full   b5, b6   Deliberative/Attorney
          dated October 4, 2007 between OGC, OCLA and other VA                                             Client Privilege
          components - Legal discussion on responses to questions from
          Tom Coburn concerning what qualifies as mentally incompetent-
          how were those regulations formulated; the process for
          determining a person mentally incompetent; right to appeal; how
          are names forwarded to DOJ, etc.
74   3    Memo: Response to Ranking Member Burr on Information VA              Withheld in full   b5, b6   Deliberative/Attorney
          provides to DOJ's National Instant Criminal Background System -                                  client privilege
          draft legal memo from OGC Deputy General Counsel, Paul Hutter
          to Under Secretary for Benefits, regarding those adjudicated as a
          mental defective or committed to a mental institution.
75   4    Responses to Burr concerning VA submission of names of VA            Withheld in full   b5, b6   Deliberative/Attorney
          beneficiaries to DOJ for inclusion in NICS - Legal Fact Sheet in                                 client privilege
          response to inquiry from Senator Burr regarding authority under
          which VA began sharing information for NICS list; standard VA
          uses for beneficiaries; direction given to VA personnel to
          implementinQ NICS process, etc.
76   11   White Paper dated May 8, 1995 - Brady Act legal discussion on        Withheld in full   b5, b6   Deliberative/Attorney
          definitions "persons who are unlawful users of or addicted to any                                Client Privilege
          controlled substance" and "persons who have been adjudicated
          as mental defectives or been committed to a mental institution"

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77   15   December 23, 1996, letter from VA Secretary Jesse Brown to        Withheld in full   b5, b6   Deliberative/Attorney
          James Claretta, ATF regarding comments to ATF on proposed                                     client privilege
          regulations providing definitions for the categories of persons
          prohibited from receiving or possessing firearms
78   18   October 22, 1996 Fax cover sheet for October 1, 1996, memo        Withheld in full   b5, b6   Deliberative/Attorney
          titled: FBI meeting on the NICS with Department of Veterans                                   client privilege
          Affairs - legal discussion between OGC, VHA and FBI on ICD 9
          codes; VA records on substance abuse and relevance to NICS;
          number of patients treated FY96 for Schedule 1 druqs
79   19   November 8, 1996 Fax cover sheet and memo to VA GENERAL           Withheld in full   b5, b6   Deliberative/Attorney
          COUNSEL from FBI titled: Actions to Support Implementation of                                 client privilege
          the National Instant Criminal Background Check System (NICS) -
          OGC legal discussion about upcoming meeting with FBI and
          information that VHA and VBA will provide                                                     NOTE: This was
                                                                                                        incorrectly labeled
                                                                                                        on the Final
                                                                                                        Agency Decision
                                                                                                        letter as October
                                                                                                        22, 1996. The
                                                                                                        correct date is
                                                                                                        November 8, 1996.
80   21   September 25, 1996 Fax cover sheet and memo to VA GENERAL         Withheld in full   b5, b6   Deliberative/Attorney
          COUNSEL from FBI titled: August 27, 1996: FBI Meeting on the                                  client privilege
          NICS with VBA regarding a system called VETSNET and testing
          for NICS
81   23   August 20, 1996 Fax cover sheet and memo to VA GENERAL            Withheld in full   b5, b6   Deliberative/Attorney
          COUNSEL from FBI titled: August 1, 1996: FBI Meeting with                                     client privilege
          OGC, VBA, VHA, VA Office of the Chief Information Officer, and
          FBI on NICS, draft minutes for meeting
82   24   NICS Meeting: Department of Veterans Affairs, August 1, 1996 -    Withheld in full   b5, b6   Deliberative/Attorney
          discussing status of actions at previous meetings with FBI on                                 client privilege
          NICS, data elements, relevant records from VA, etc.
83   30   July 2, 1996 Fax cover sheet and memo to VA GENERAL               Withheld in full   b5, b6   Deliberative/Attorney
          COUNSEL from FBI titled: June 25, 1996: FBI Meetina on the                                    client privileae

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          NICS with the Department of Veteran Affairs - OGC, VHA, VBA,
          Information Policy & Planning, and FBI - Summary of key points
          on relevance of records; information VA has that is applicable to
          NICS; relevant data elements; prohibited categories; confirming
          accuracy of data; originating case numbers for VA records;
          proposal on data transmission from VA to FBI, etc.
84   33   DOJ-FBI letter to VA OGC regarding set up for May 23, 1996           Withheld in full   b5, b6   Deliberative/Attorney
          meeting regarding development of NICS                                                            Client Privilege
85   37   Fax cover sheet dated May 22, 1996 from Office of Chief Counsel      Withheld in full   b5, b6   Deliberative/Attorney
          for ATF to VA GENERAL COUNSEL regarding "adjudicated as a                                        Client Privilege
          Mental Defective" and "Alien illegally or unlawfully in the United
          States"
86   40   December 1, 1995, memo to VA Undersecretary for Health to VA         Withheld in full   b5, b6   Deliberative/Attorney
          General Counsel regarding FBI National Instant Criminal                                          client privilege
          Background Check - legal memo to discuss information needed
          from VHA in order to accomplish the FBl's request for data under
          the Brady Act.
87   41   September 20, 1995, memo to VA Undersecretary for Health to          Withheld in full   b5, b6   Deliberative/Attorney
          VA General Counsel regarding FBI National Instant Criminal                                       client privilege
          Background Check - legal memo to review and response to FBl's
          request to obtain data on certain Veterans for NICS as required
          by the Brady Act.
88   42   August 22, 1995, memo to Summarize activity conducted on FBl's       Withheld in full   b5, b6   Deliberative/Attorney
          request for VA benefits records pursuant to the Brady Act and                                    Client Privilege
          Exhibits to the memo (Exhibit A: July 10, 1995 memo from Under
          Secretary for Benefits to VA GENERAL COUNSEL regarding
          Release of Information to the FBI; Exhibit B: White Paper, VA
          Data Provided to the NICS; Handwritten document dated July 13,
          1995, regarding internal GENERAL COUNSEL meeting re
          competency of Veteran




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89   43   July 10, 1995, memo from Under Secretary for Benefits to VA        Withheld in full   b5, b6   Deliberative/Attorney
          GENERAL COUNSEL regarding Release of Information to the                                        client privilege
          FBI and attachment to the memo (June 12, 1995 memo from
          Under Secretary for Benefits to VA GENERAL COUNSEL
          regarding Release of Information to the FBI and categories of
          persons ineligible to possess firearms



90   44   June 12, 1995 memo from Under Secretary for Benefits to VA         Withheld in full   b5, b6   Deliberative/Attorney
          GENERAL COUNSEL regarding Release of Information to the                                        client privilege
          FBI)
91   45   June 6, 1994, letter from Office of Attorney General to VA         Withheld in full   b5, b6   Deliberative/Attorney
          Secretary Jesse Brown regarding creation of NICS and                                           client privilege
          information needed on persons in 6 disqualifying categories
                                                                                                         **NOTE: This was
                                                                                                         incorrectly labeled
                                                                                                         on the Final Agency
                                                                                                         Decision letter as a
                                                                                                         June 9, 1994 letter.
                                                                                                         The correct date is
                                                                                                         June 6, 1996**
92   46   April 7, 1995, letter from FBI to VA GENERAL COUNSEL,              Withheld in full   b5, b6   Deliberative/Attorney
          regarding comments on draft definitions of categories of persons                               client privilege
          prohibited from receiving firearms used to develop NICS
93   61   June 6, 1994 letter from Attorney General Janet Reno to VA         Withheld in full   b5, b6   Deliberative/Attorney
          Secretary Jesse Brown regarding creation of the NICS and data                                  client privilege
          needed on persons in 6 disqualifying categories that would
          disqualify them from possessing firearms
94   62   August 29, 1994 letter from VA General Counsel to FBI regarding    Withheld in full   b5, b6   Deliberative/Attorney
          Privacy Act System of Records review to comply with request to                                 client privilege
          identify data that mav contain information relevant to NICS



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**Justification: (b)(5) exemption protects interagency or intra-agency memorandums or letters that would not be available
by law to a party other than an agency in litigation with the agency (5 U.S.C. § 552(b)(5)). Accordingly, the (b)(5)
exemption permits an agency to withhold materials that reflect the thoughts and unadopted opinions of agency officials
undertaking review of an issue. Although final decisions have since been made, the responsive information does not lose
its pre-decisional character. Elec. Privacy Info. Ctr. v. Department of Homeland Security, 384 F. Supp. 2d, 100, 112-13
(D.D.C. 2005). The responsive records reflect the thoughts and unadopted opinions of VA employees. It also documents
privileged communications between agency counsel and agency employees. Disclosure of this information could
compromise the integrity of the Deliberative/Attorney Client Privilege process or hamper frank and open discussions
among employees.

** Justification: (b )(6) exemption 6 protects records when the release would lead to a clearly unwarranted invasion of
personal privacy. 5 U.S.C. § 552(b)(6). Here, the information withheld consists of identifying details regarding specific
individuals; these individuals have a significant privacy interest in information about themselves. An analysis regarding
disclosure of information under exemption 6 also includes consideration of whether disclosure would serve the public
interest. As noted in Reporter's Committee, once a personal privacy interest has been ascertained, we must then balance
the personal privacy interest against the public interest. In evaluating the public interest in a given case, we must focus
on the nature of the requested documents and their relationship to the public interest generally. We must consider
whether disclosure of the requested information, or portions thereof that have been withheld, would "open agency action
to the light of public scrutiny" rather than focus on the particular purpose for which the information is being requested
(DOJ v. Reporter's Committee for Freedom of the Press, 489 U.S. 749 at 772 (1989)).




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